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12

13                                  UNITED STATES DISTRICT COURT

14                                 NORTHERN DISTRICT OF CALIFORNIA

15                                         SAN FRANCISCO DIVISION

16 HUAWEI TECHNOLOGIES CO., LTD., et al.,              CASE NO. 16-cv-02787-WHO

17                   Plaintiffs,                       DECLARATION OF DR. SONG
                                                       LIANBING IN SUPPORT OF
18            v.                                       SAMSUNG’S MOTION TO ENJOIN
                                                       HUAWEI FROM ENFORCING THE
19 SAMSUNG ELECTRONICS CO., LTD., et al.,              INJUNCTION ISSUED BY THE
                                                       INTERMEDIATE PEOPLE’S COURT
20                   Defendants.                       OF SHENZHEN

21
   SAMSUNG ELECTRONICS CO., LTD. &
22 SAMSUNG ELECTRONICS AMERICA, INC.,
                                                       REDACTED VERSION OF DOCUMENT
23              Counterclaim-Plaintiffs,               SOUGHT TO BE SEALED

24       v.
25 HUAWEI TECHNOLOGIES CO., LTD,
   HUAWEI DEVICE USA, INC., HUAWEI
26 TECHNOLOGIES USA, INC. & HISILICON
   TECHNOLOGIES CO., LTD.,
27
         Counterclaim-Defendants.
28

                                                                      CASE NO. 16-cv-02787-WHO
               DECLARATION OF DR. SONG LIANBING ISO SAMSUNG’S MOTION FOR ANTISUIT INJUNCTION
     Case 3:16-cv-02787-WHO          Document 235-3        Filed 02/01/18      Page 2 of 4



 1          I, Song Lianbing, declare as follows:
 2          1.     I am Professor of Law and Doctor’s Tutor on the Faculty of International Law at
 3 China University of Political Science and Law in Beijing, China. I have held this position since

 4 2012. I submit this declaration in support of Samsung’s Motion to Enjoin Huawei from Enforcing

 5 the Injunction Issued by the Intermediate People’s Court of Shenzhen. I have personal knowledge

 6 of the facts set forth in this declaration and, if called upon as a witness, I could and would testify

 7 to such facts under oath.

 8 Academic and Professional Qualifications

 9          2.     I have attached my current curriculum vitae as Exhibit A. I received my L.L.M.
10 from Wuhan University Law School in 1993, and my Doctor of Law from Wuhan University Law

11 School in 1999. I have been a member of the Chinese Society of International Law since 1992

12 and a member of the China Law Society since 1996. Since 2001, I have served as Standing Board

13 Member and Deputy Secretary General of the Chinese Society of Private International Law. I

14 have served as an academic advisor to the Journal of Beijing Arbitration since 2002, and as

15 academic advisor to the Journal of Arbitration Study since 2012.

16          3.     I have published over 100 research and thesis papers on international law, Chinese
17 civil law, private international law, and arbitration law. I am a co-author of Methodology of Legal

18 Education, published by Wuhan University Press in 2009, as well as of Treatise of Arbitration

19 Law, 1st, 2nd and 3rd editions, published by China University of Political Science and Law Press

20 in 1997, 1999, 2002, 2007, and 2008. I am also a co-author of Private International Law,

21 published by Hunan People’s Publishing House in 2003. I have also co-translated numerous

22 academic publications, including Information Technology Law, published by Press of Wuhan

23 University in 2004, and Selected Materials on International Commercial Arbitration, published by

24 Intellectual Property Press in 2004.

25 Appellate Procedure with Respect to the Shenzhen Court’s Injunction Order

26          4.     On January 11, 2018, the Shenzhen Intermediate People’s Court (“Shenzhen
27 Court”) found that Samsung’s Chinese affiliates infringed Chinese Patent Nos. 201010137731.2

28 and 201110269715.3, and issued an injunction barring Samsung from manufacturing, selling, and

                                              -1-                   CASE NO. 16-cv-02787-WHO
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     Case 3:16-cv-02787-WHO          Document 235-3        Filed 02/01/18     Page 3 of 4



 1 offering to sell certain smartphones in China.

 2          5.     I have reviewed the Shenzhen Court’s order (“injunction order”) in Chinese and a
 3 certified translation to English, and have been asked by counsel for Samsung to provide this

 4 declaration regarding the appellate procedure with respect to the order.

 5          6.     The injunction order states:
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19                                                                                           Moreover,
20 provided one or both parties appeal, the injunction order will not be enforced until after the appeal

21 concludes.

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24                                                                                      e.
25          8.     On January 26, 2018, Samsung filed a notice of appeal of the Shenzhen Court’s
26 judgment. That appeal will give the Guangdong High Court the opportunity to review de novo the

27 procedural and substantive determinations made by the Shenzhen Court. The parties can submit

28 additional evidence during the appeal, and the Guangdong High Court may hold an additional

                                              -2-                   CASE NO. 16-cv-02787-WHO
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 1 evidentiary hearing.

 2          9.     The appeal is expected to conclude within months. Huawei can withdraw its
 3 lawsuits against Samsung at any time during the appeal to the Guangdong High Court.

 4 Alternately, Huawei can request a stay of the appeal pending resolution of its claims before this

 5 Court, and the Guangdong High Court can grant such a stay in its discretion.

 6          I declare under penalty of perjury under the laws of the United States of America that the
 7 foregoing is true and correct to the best of my knowledge. Executed February 1, 2018, in Beijing,

 8 China.

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                                                        Dr. Song Lianbing
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             DECLARATION OF DR. SONG LIANBING ISO SAMSUNG’S MOTION FOR ANTISUIT INJUNCTION
